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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 ESTER GIANNULIS,

                Plaintiff,                             CASE NO. _____________________

        v.                                             L.C. Case No. 19-007035-CI

 COUNTRYSIDE SURGERY CENTER, LTD,

                Defendant.


                             DEFENDANT’S NOTICE OF REMOVAL

        Defendant Countryside Surgery Center, LTD ( “Defendant”) by and through its

 undersigned counsel, and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby removes

 this action from the Circuit Court of the Sixth Judicial Circuit in and for Pinellas County,

 Florida, to the United States District Court for the Middle District of Florida, Tampa

 Division. A short and plain statement of the grounds for removal is as follows:

        1.      On October 23, 2019, Plaintiff filed this action against Defendant in the

 Circuit Court of the Sixth Judicial Circuit in and for Pinellas County, Florida, Case No. 19-

 007035-CI, styled Ester Giannulis v. Countryside Surgery Center, LTD.

        2.      The Summons and Complaint were served on Defendant on October 31, 2019.

 Pursuant to 28 U.S.C. § 1446(b), this notice is filed timely within thirty (30) days after

 Defendant received Plaintiff’s Summons and Complaint.

        3.      Plaintiff’s Complaint contains a claim for unpaid overtime wages under the

 Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). This Court has original

 jurisdiction with respect to the FLSA claim because it is an action to recover damages or to
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 secure equitable relief or any other relief under an Act of Congress. Therefore, removal to

 this Court of the FLSA claim is proper.

        4.      The events alleged by Plaintiff giving rise to Plaintiff’s FLSA claim allegedly

 occurred in Pinellas County, Florida, which is within this Court’s district. (Complaint at ¶ 2.)

 Accordingly, venue is proper in the Tampa Division of the United States District Court,

 Middle District of Florida. M.D. Fla. Loc. R. 1.02(b)(4).

        5.      Pursuant to 28 U.S.C. § 1446(a), Defendant has attached a copy of all process,

 pleadings, and orders served upon Defendant in this action. In addition, pursuant to United

 States District Court for the Middle District of Florida, Local Rule 4.02(b), Defendant has

 attached “a true and legible copy of all process, pleadings, orders and other papers or exhibits

 of every kind, including depositions, then on file in the state court.” (See attached Composite

 Exhibit A.)

        6.      Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice will

 be served on Plaintiff, the only adverse party, and a copy of this Notice will also be filed with

 the Circuit Court of the Sixth Judicial Circuit in and for Pinellas County, Florida. (See

 attached Exhibit B.)

        WHEREFORE, on the basis of the foregoing, Defendant respectfully submits that

 removal of this action from the Sixth Judicial Circuit in and for Pinellas County, Florida to

 this Court is proper.

        Dated this 20th day of November, 2019.




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                                           Respectfully submitted,

                                           By: /s/ Tracey K. Jaensch
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                                               Attorneys for Defendant



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2019, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system. I further certify that a true and

 correct copy of the foregoing has been sent via e-mail to:

                                   Christopher J. Saba, Esq.
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                                     Attorney for Plaintiff


                                              /s/ Tracey K. Jaensch
                                              Tracey K. Jaensch

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